  Case 2:21-cv-00316 Document 469 Filed 07/11/22 Page 1 of 7 PageID #: 29670




                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,

                             Plaintiff,

                       v.                                 Civil Action No. 2:21-cv-00316

 WEST VIRGINIA STATE BOARD OF                             Hon. Joseph R. Goodwin
 EDUCATION, HARRISON COUNTY BOARD
 OF EDUCATION, WEST VIRGINIA
 SECONDARY SCHOOL ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,

                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.


  PLAINTIFF’S REPLY IN SUPPORT OF HER MOTION IN LIMINE TO EXCLUDE
   DEFENDANT STATE OF WEST VIRGINIA’S EXHIBIT H AND SUPPORTING
                        MEMORANDUM OF LAW

       Plaintiff B.P.J., a minor, by and through her next friend and mother, Heather Jackson,

respectfully submits this reply in support of her motion to exclude Defendant State of West

Virginia’s (“State”) Exhibit H (Dkt. No. 285-8) as inadmissible pursuant to Federal Rules of

Evidence 401, 402, 403, 611, and 1006.

                                           ARGUMENT

       The State’s Exhibit H (Dkt. No. 285-5) should be excluded at trial. As detailed in Plaintiff’s

Motion in Limine concerning this document, (Dkt. No. 408 (Pl. MIL) at 1–2), Exhibit H contains

                                                 1
    Case 2:21-cv-00316 Document 469 Filed 07/11/22 Page 2 of 7 PageID #: 29671




a series of four apparently homemade charts prepared by the State’s attorneys (Exs. H-1–H-4).

Despite its previous briefing that Exhibit H is admissible under Rule 1006 as a summary of

voluminous documents (Dkt. No. 337 (State Reply) at 15), the State now asserts for the first time

that it seeks to “introduce” Exhibit H under Rule 611 (Dkt. No. 421 (State Opp.) at 2), rather than

Rule 1006. This is a concession that Exhibit H is not admissible under Rule 1006. 1 But regardless

which Rule the State seeks to apply, this Exhibit is inadmissible under Federal Rules of Evidence

401, 402, 403, 702, 611, and 1006 and should be excluded.

        Exhibit H should not be admitted under Rule 611. Rule 611, which pertains generally to

the “mode and order of examining witnesses and presenting evidence,” Fed. R. Evid. 611(a), has

been interpreted to allow “pedagogical devices” that “are not evidence themselves, but are used

merely to aid the jury in its understanding of the evidence that has already been admitted.” U.S. v.

Janati, 374 F.3d 263, 273 (4th Cir. 2004) (citation omitted) (internal quotation omitted) (emphasis

added). Exhibit H is not an appropriate pedagogical exhibit. Pedagogical exhibits “may not be

used to summarize otherwise inadmissible evidence.” 4 Weinstein’s Federal Evidence § 611.02

(2021) (emphasis added). Thus, the only way for the State “to introduce Exhibit H as a visual aid

of some of the findings in Dr. Brown’s expert report” (Dkt. No. 421 (State Opp.) at 2) would be if

the testimony of Dr. Brown’s at issue were otherwise admissible. It is not.

        First, among other requirements, evidence must be relevant to be admissible. Fed. R. Evid.

402. The State claims that Exhibit H is relevant “because Dr. Brown’s expert report is relevant.”

(Dkt. No. 421 (State Opp.) at 3.) But even assuming that Dr. Brown’s expert report is relevant—



1
 Prior to its Opposition, the State asserted Exhibit H’s admissibility under Rule 1006. (Dkt. No.
337 (State Reply) at 15.) Exhibit H is inadmissible under Rule 1006 because it does not accurately
summarize the testimony of Dr. Brown. (Dkt. No. 408 (Pl. MIL) at 2-3.) The State now asserts it
will not seek to admit Exhibit H under Rule 1006, thus waiving any opposition to Plaintiff’s motion
on that ground.
                                                 2
  Case 2:21-cv-00316 Document 469 Filed 07/11/22 Page 3 of 7 PageID #: 29672




something that Plaintiff strenuously disagrees with (see Dkt. No. 316 (Pl. Daubert Motion to

Exclude Expert Testimony of Dr. Gregory Brown) at 1-3)—the data summarized by Exhibit H is

not relevant. As addressed in Plaintiff’s opening motion, (Dkt. No. 408 (Pl. MIL) at 4), the charts

either purport to compare cisgender boys and cisgender girls, or involve only adult transgender

women. B.P.J. is not cisgender and is not an adult; she is a girl who is transgender. (See, e.g., Dkt.

No. 285-8 (State Exhibit H) at H-1 (“11 Years Old Male Advantage Over Female”); H-2 (“2021

West Virginia 6th Grade Average Time Top 10 Finishers Percent Differece [sic] Between Boys

and Girls”); H-4 (“Tambalis 2015 Greek Study - Male Advantage Over Female (Sample Size Over

424,000)”).) Because none of the charts reflect data applicable to B.P.J.—a twelve-year-old

transgender girl on puberty blockers who has not experienced endogenous puberty—they should

be excluded as irrelevant.

       The State asserts without support that “[t]his case revolves around the reality that biological

boys perform better than biological girls in sports at various levels.” (Dkt. No. 421 (State Opp.)

at 3.) To the contrary, this as-applied challenge “revolves around” B.P.J. The relevant inquiry

under the Equal Protection Clause is whether the State has met its burden of demonstrating an

“exceedingly persuasive justification” for categorically barring B.P.J. from playing school sports.

United States v. Virginia, 518 U.S. 515, 534 (1996). It is therefore the State’s burden to

demonstrate the actual reason the legislature enacted H.B. 3293, and to show that such reason is

an exceedingly persuasive justification for B.P.J.’s exclusion. It is not, as the State contends,

B.P.J.’s burden to “scientifically demonstrate” (Dkt. No. 421 (State Opp.) at 3) why the State’s

irrelevant evidence—which involve adults and cisgender individuals—does not apply to her.

       Second, even when evidence is relevant, if its probative value is substantially outweighed

by the danger of “unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting



                                                  3
  Case 2:21-cv-00316 Document 469 Filed 07/11/22 Page 4 of 7 PageID #: 29673




time, or needlessly presenting cumulative evidence,” that evidence should be excluded. Fed. R.

Evid. 403. The State’s homemade charts should be excluded because they are misleading under

Rule 403. In an attempt to clarify the confusing nature of Chart H-1 raised by Plaintiff, (see Dkt.

No. 408 (Pl. MIL) at 3–4), the State only confirms that the chart confusingly involves multiple

units of measurement along one axis and pertains to “male advantage over female” rather than

anything about the athletic performance of transgender adolescents. (See Dkt. No. 421 (State Opp.)

at 5–6 (explaining that Ex. H-1 compares shuttle runs measured in stages and sprints measured in

seconds and asserting that the charts show “the 11-year-old male advantage.”)) The State’s

repeated, unsubstantiated suggestion that a discrete set of race results implies a generalized, overall

athletic “advantage”—in addition to being inaccurate—would be misleading to any potential

advisory jury and unduly prejudicial to B.P.J. under Rule 403. See Watkins v. Cook Inc., 2015 WL

1395638, at *2–4 (S.D.W. Va. Mar. 25, 2015) (excluding evidence which would have posed

“substantial risks of misleading the jury and wasting judicial resources by diving into [topics] . . .

none of which relate to the . . . claims at issue”) (Goodwin, J.); see also Dimock v. Ethicon, Inc.,

2016 WL 11524466, at *1 (S.D.W. Va. Nov. 29, 2016) (noting that a court should exclude

testimony where “[a]ny kernel of relevance is outweighed by ‘the very substantial dangers of

misleading the jury and confusing the issues’”) (Goodwin, J.).

       Finally, for the reasons stated in Plaintiff’s opening Motion, Dr. Brown’s testimony is

unreliable under Rule 702 because, inter alia, the testimony draws speculative inferences about

transgender girls based on comparisons of cisgender prepubertal boys and cisgender prepubertal

girls, based on physical fitness studies of the population at large, and based on raw data from a

single year’s worth of competition. (See Dkt. No. 316 (Brown Daubert Mot.) at 8–17.) The State

asserts that Dr. Brown “explicitly cites and relies on both of the reports Plaintiff claims are



                                                  4
  Case 2:21-cv-00316 Document 469 Filed 07/11/22 Page 5 of 7 PageID #: 29674




missing.” (Dkt. No. 421 (State’s Opp.) at 4.) But this response misstates Plaintiff’s position that

“the Exhibit in fact refers to certain findings from David J. Handlesman and Espen Tonnessen that

Dr. Brown conspicuously failed to include in his expert testimony.” (Dkt. No. 408 (Pl. MIL) at 2–

3.) Rather than summarize the findings that Dr. Brown actually discusses in his expert testimony,

the State inserts into Exhibit H additional findings from David J. Handlesman and Espen

Tonnessen that Dr. Brown omitted in his expert testimony. (See Dkt. No. 285-8 (State Exhibit H)

at H-1; see Dkt. No. 316 (Brown Daubert Mot.) at 15–16.) A “pedagogical device” may not be

used to introduce information not discussed in the expert’s testimony. 4 Weinstein’s Federal

Evidence § 611.02 (2021) (noting that evidence summarized by a pedagogical exhibit must be

otherwise admissible).

       In sum, Rule 611 does not permit Exhibit H to be introduced as either evidence or a

“pedagogical device.”

                                         CONCLUSION

       Plaintiff respectfully moves this Court to preclude Defendants from offering Defendant

State of West Virginia’s Exhibit H (Dkt. No. 285-8) at trial.




                                                 5
 Case 2:21-cv-00316 Document 469 Filed 07/11/22 Page 6 of 7 PageID #: 29675




Dated: July 11, 2022                        Respectfully Submitted,
                                            /s/ Loree Stark
Joshua Block*                               Loree Stark (Bar No. 12936)
AMERICAN CIVIL LIBERTIES UNION              Nick Ward (Bar No. 13703)
FOUNDATION                                  AMERICAN CIVIL LIBERTIES UNION OF
125 Broad St.                               WEST
New York, NY 10004                          VIRGINIA FOUNDATION
Phone: (212) 549-2569                       P.O. Box 3952
jblock@aclu.org                             Charleston, WV 25339-3952
                                            Phone: (914) 393-4614
Avatara Smith-Carrington*                   lstark@acluwv.org
LAMBDA LEGAL                                nward@acluwv.org
3500 Oak Lawn Avenue, Suite 500
Dallas, TX 75219                            Kathleen Hartnett*
Phone: (214) 219-8585                       Julie Veroff*
asmithcarrington@lambdalegal.org            Zoë Helstrom*
                                            COOLEY LLP
Carl Charles*                               3 Embarcadero Center, 20th Floor
Tara Borelli*                               San Francisco, CA 94111
LAMBDA LEGAL                                Phone: (415) 693-2000
158 West Ponce De Leon Ave., Ste. 105       khartnett@cooley.com
Decatur, GA 30030                           jveroff@cooley.com
Phone: (404) 897-1880                       zhelstrom@cooley.com
ccharles@lambdalegal.org
tborelli@lambdalegal.org                    Katelyn Kang*
                                            Valeria M. Pelet del Toro*
Sruti Swaminathan*                          COOLEY LLP
LAMBDA LEGAL                                55 Hudson Yards
120 Wall Street, 19th Floor                 New York, NY 10001-2157
New York, NY 10005                          Phone: (212) 479-6000
Phone: (212) 809-8585                       kkang@cooley.com
sswaminathan@lambdalegal.org                vpeletdeltoro@cooley.com

Andrew Barr*                                Elizabeth Reinhardt*
COOLEY LLP                                  COOLEY LLP
1144 15th St. Suite 2300                    500 Boylston Street, 14th Floor
Denver, CO 80202-5686                       Boston, MA 02116-3736
Phone: (720) 566-4000                       Phone: (617) 937-2305
abarr@cooley.com                            ereinhardt@cooley.com

                                            *Visiting Attorneys

                                            Attorneys for Plaintiff




                                        6
  Case 2:21-cv-00316 Document 469 Filed 07/11/22 Page 7 of 7 PageID #: 29676




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,

                             Plaintiff,

                       v.                                 Civil Action No. 2:21-cv-00316

 WEST VIRGINIA STATE BOARD OF                             Hon. Joseph R. Goodwin
 EDUCATION, HARRISON COUNTY BOARD
 OF       EDUCATION,         WEST      VIRGINIA
 SECONDARY            SCHOOL          ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,

                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.


                                CERTIFICATE OF SERVICE

       I, Loree Stark, do hereby certify that on this 11th day of July, 2022, I electronically filed

a true and exact copy of the Plaintiff’s Reply in Support of her Motion in Limine to Exclude

Defendant State of West Virginia’s Exhibit H and Supporting Memorandum of Law with the

Clerk of Court and all parties using the CM/ECF System.




                                                    /s/ Loree Stark
                                                    Loree Stark
                                                    West Virginia Bar No. 12936


                                                7
